                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                  CASE NO: 4:22MJ3020
      vs.

CHRISTOPHER GROTH,                                 DETENTION ORDER
             Defendant.



      On the government's motion, the court afforded the defendant an
opportunity for a detention hearing under the Bail Reform Act, 18 U.S.C. §
3142(f). The court concludes the defendant must be detained.

      Based on the information of record, there is probable cause to support the
child pornography crime alleged in the criminal complaint.

      There is a rebuttable presumption that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance at court
proceedings and the safety of the community because there is probable cause to
believe the defendant committed a felony involving a minor. The defendant has
not rebutted this presumption.

      Based on the information of record, the court finds by clear and convincing
evidence that the defendant's release would pose a risk of harm to the public.

      Specifically, the court finds that there is substantial evidence supporting
the criminal charges. The defendant has children living in his home, and no
alternative residence for release was suggested to the court. He has mental
health issues which will pose a risk of harm to himself or others if released.
Defendant presented no evidence opposing the presumption of detention, and
conditions which restrict Defendant’s travel, personal contacts, and possession of
drugs, alcohol, and/or firearms; require reporting, education, employment, or
treatment; or monitor Defendant’s movements or conduct; or any combination of
these conditions or others currently proposed or available (see 18 U.S.C. §
3142(c)), will not sufficiently ameliorate the risks posed if the defendant is
released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated February 18, 2022.

                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
